                                             Case 5:20-mc-80156-JD Document 30 Filed 11/24/20 Page 1 of 8




                                   1

                                   2

                                   3

                                   4                                 UNITED STATES DISTRICT COURT

                                   5                              NORTHERN DISTRICT OF CALIFORNIA

                                   6                                         SAN JOSE DIVISION

                                   7

                                   8        IN RE EX PARTE APPLICATION OF                  Case No. 20-mc-80156-VKD
                                            TATIANA AKHMEDOVA,
                                   9                    Applicant.                         ORDER DENYING GOOGLE'S
                                  10                                                       MOTION TO QUASH SUBPOENA

                                  11                                                       Re: Dkt. No. 20

                                  12
Northern District of California
 United States District Court




                                  13           On October 6, 2020, the Court granted applicant Tatiana Akhmedova’s (“Applicant”) ex

                                  14   parte application for an order pursuant to 28 U.S.C. § 1782 authorizing service of a subpoena on

                                  15   Google LLC (“Google”) for evidence to be used in pending litigation in the United Kingdom,

                                  16   High Court of Justice, Family Division, Case No. FD13D05340 (“English proceeding”). Dkt. No.

                                  17   12. The Court amended the order on October 27, 2020 to correct an error. Dkt. No. 18. Google

                                  18   now moves to quash the subpoena on several grounds and to modify the Court’s prior order

                                  19   regarding preservation of records. Dkt. No. 20. The Court held a hearing on the motion to quash

                                  20   on November 24, 2020. Dkt. No. 29.

                                  21           Having considered the relevant submissions and the arguments presented at the hearing,

                                  22   the Court denies Google’s motion to quash the subpoena and grants its motion to modify the

                                  23   Court’s prior order regarding preservation of records.

                                  24   I.      BACKGROUND
                                  25           Applicant’s subpoena to Google seeks production of the following documents:

                                  26           a) All non-content electronically stored information (“ESI”), including but not limited to
                                               all metadata and subscriber information for the following email accounts:
                                  27

                                  28                  i) temur@akhmedov.net;
                                           Case 5:20-mc-80156-JD Document 30 Filed 11/24/20 Page 2 of 8




                                                      ii) temur@stecapital.net;
                                   1
                                                      iii) khyshen@gmail.com;
                                   2

                                   3                  iv) temur.akhmedov1993@gmail.com;

                                   4                  v) any other email address where Temur Akhmedov is determined to be the
                                                      subscriber or account holder.
                                   5
                                              b) All emails, documents or information regarding the above-listed accounts which
                                   6          would ordinarily be recoverable to a subscriber or account holder through the account
                                              recovery process with Google or based on the consent of the subscriber or account
                                   7
                                              holder.
                                   8   Dkt. No. 18. In addition, the Court’s order authorizing service of the subpoena required Google to
                                   9   “produce the documents directly to the independent IT forensic expert appointed by the English
                                  10   Court, Aon, whose contact information for such production shall be provided by Ms.
                                  11   Akhmedova,” and further required Google to “preserve documents, information and evidence,
                                  12   electronic or otherwise, in its possession, custody or control that contain information potentially
Northern District of California
 United States District Court




                                  13   relevant to the subject matter of the Ms. Akhmedova’s request.” Id.; see also Dkt. No. 20-2.
                                  14          Temur Akhmedov is Applicant’s son and a party to the English proceedings. Dkt. No. 2
                                  15   ¶ 1. At the English court’s direction, Mr. Akhmedov signed and dated four statements (the
                                  16   “mandates”)—one for each account—each of which provides in relevant part as follows:
                                  17
                                                      To whom it may concern:
                                  18
                                                      I, Temur Akhmedov, am the owner of the account [name of
                                  19                  account].

                                  20                  I consent to the disclosure of the data contained on or relating to my
                                                      account of whatever nature (including, but not limited to, emails and
                                  21                  documents (including deleted items), account/subscriber information
                                                      and metadata) being produced to Stroz Friedberg Limited of The
                                  22                  Aon Centre . . . .

                                  23                  I further instruct you to provide a copy of all data contained on or
                                                      relating to my account of whatever nature to Aon as soon as
                                  24                  possible, and to follow any and all further instructions from . . . Aon
                                                      to provide access to or copies of data on or relating to my account.
                                  25
                                                      I withdraw and waive any objection that I have made or could make
                                  26                  to the production by Google of any data which is the subject of this
                                                      consent and instruction pursuant to a subpoena or other court order
                                  27                  in any jurisdiction, provided that the subpoena or other court order is
                                                      consistent with this consent and instruction. I further confirm that I
                                  28                  consent to the production of such data (including contents of
                                                      communications) for purposes of 18 U.S. Code § 2702(b)(3) and
                                                                                          2
                                           Case 5:20-mc-80156-JD Document 30 Filed 11/24/20 Page 3 of 8



                                                      (c)(2) pursuant to any subpoena or other court order which is
                                   1                  consistent with this consent and instruction.
                                   2   Dkt. No. 2-8 at ECF p. 5-8. On October 5, 2020, Mr. Akhmedov’s counsel filed a stipulation on

                                   3   his behalf in this action indicating that Mr. Akhmedov does not oppose Applicant’s application for

                                   4   the discovery described in the subpoena and consents to the application “without qualification.”

                                   5   Dkt. No. 9 at 2.

                                   6          Applicant advises that since the submission of her original application, the English court

                                   7   has issued a statement describing its view of the discovery Applicant seeks from Google as

                                   8   follows:

                                   9                  For the avoidance of doubt, this court would indeed be assisted by
                                                      the production of Temur Akhmedov’s Google accounts to the
                                  10                  independent forensic expert, Aon, appointed by this court.
                                  11                  Careful perusal of the judge’s previous orders would have made
                                                      clear that this material was an important, if not crucial, part of the
                                  12                  evidential landscape relating to Temur Akhmedov which this court
Northern District of California
 United States District Court




                                                      will need to survey in November and December 2020.
                                  13
                                                      The relief sought in the US District Court does NOT go further than
                                  14                  the substance of what the judge intended and ordered.
                                  15                  Further, this court has reason to be grateful for the past assistance
                                                      provide to it pursuant to title 28 U.S.C. Section 1782 . . . .
                                  16
                                                      Any perception that this court is not solicitous of assistance from the
                                  17                  United States District Court could not be further from the truth.
                                  18   Dkt. No. 21-3 at 2-3.

                                  19          Applicant and Google subsequently agreed that Google need not produce documents

                                  20   concerning “any other email address where Temur Akhmedov is determined to be the subscriber

                                  21   or account holder,” such that the scope of the subpoena is now limited to the four accounts that are

                                  22   specifically identified by reference to an associated email address. Dkt. No. 20 at 5. Google has

                                  23   produced responsive non-content information for the four accounts described in subsection (a) of

                                  24   the subpoena but objects to producing the responsive content described in subsection (b). Id. The

                                  25   parties agree that only two of the four accounts—those associated with the email addresses

                                  26   khyshen@gmail.com and temur.akhmedov1993@gmail.com—are still active and accessible. Dkt.

                                  27   No. 29. Google objects to the Court’s order requiring it to preserve information beyond these two

                                  28   specific accounts. Dkt. No. 20 at 3; Dkt. No. 29.
                                                                                           3
                                             Case 5:20-mc-80156-JD Document 30 Filed 11/24/20 Page 4 of 8




                                   1   II.     DISCUSSION

                                   2           Google moves to quash or modify the subpoena and the Court’s prior order on four

                                   3   grounds. First, Google argues that Title II of the Electronic Communications Privacy Act, known

                                   4   as the Stored Communications Act (“SCA”), 18 U.S.C. §§ 2701-2703, prohibits production of the

                                   5   contents of the accounts. Second, Google argues that Applicant must exhaust efforts to obtain the

                                   6   contents of the accounts from Mr. Akhmedov before seeking discovery from Google. Third,

                                   7   Google argues, in a footnote, that the subpoena is overbroad and seeks information that is not

                                   8   relevant to the English proceeding. Fourth, Google argues that because it cannot ascertain what

                                   9   evidence must be preserved, beyond the identified accounts, the Court’s preservation order should

                                  10   be modified. The Court considers each argument separately.

                                  11           A.     Stored Communications Act
                                  12           The SCA prohibits service providers, like Google, from disclosing the contents of an
Northern District of California
 United States District Court




                                  13   account holder’s electronic communications, unless one of several exceptions applies. 18 U.S.C.

                                  14   § 2702(a)(1), (a)(2); 18 U.S.C. § 2702(b)(1)-(9). The parties agree that one such exception is that

                                  15   a service provider may disclose the contents of an account holder’s electronic communications

                                  16   with the “lawful consent” of the account holder. 18 U.S.C. § 2702(b)(3).

                                  17           Google argues that Mr. Akhmedov’s purported consent to production of the contents of the

                                  18   accounts does not meet the statutory requirement of “lawful consent” because Mr. Akhmedov is

                                  19   unable or unwilling to use Google’s account recovery options to access the accounts himself.

                                  20   Specifically, Google argues that it has developed a “verified-consent” process that requires an

                                  21   account holder to (1) log in to the account at issue, (2) send an email to Google from the account

                                  22   attaching a court order to produce account holder’s communications, and (3) provide an express

                                  23   statement consenting to Google’s disclosure. Dkt. No. 20 at 7. Google insists that its verified-

                                  24   consent process is the only acceptable means for an account holder to indicate consent. Given the

                                  25   nature and magnitude of its service, Google says that it cannot reasonably be expected to evaluate

                                  26   other means of expression of consent or to make judgments about whether a purported account

                                  27   holder is, in fact, the owner of a Google account, and that requiring it to make such judgments

                                  28   creates an unacceptable risk of exposure under the SCA. Dkt. No. 29.
                                                                                        4
                                           Case 5:20-mc-80156-JD Document 30 Filed 11/24/20 Page 5 of 8




                                   1          Google’s concern for the privacy and security of its account holders’ communications is

                                   2   commendable, and its verified-consent process is undoubtedly a satisfactory mechanism to obtain

                                   3   the account holder’s consent. However, nothing in the SCA requires that consent be

                                   4   communicated in the manner Google prescribes or permits a service provider to dictate the form of

                                   5   acceptable consent. In this case, neither Mr. Akhmedov’s status as the holder of the accounts nor

                                   6   his consent to production of their contents is reasonably in dispute. In the mandates he signed at

                                   7   the direction of the English court, Mr. Akhmedov expressly states that he owns the accounts and

                                   8   consents to Google’s production of their contents, including specifically for purposes of

                                   9   compliance with the SCA.1 Likewise, Mr. Akhmedov has filed a stipulation in this action

                                  10   indicating that he does not object to Applicant’s effort to obtain production of the contents of the

                                  11   accounts from Google.

                                  12          Google suggests that Mr. Akhmedov’s statements are untrustworthy because he has
Northern District of California
 United States District Court




                                  13   engaged in a “pattern of deceptive and destructive behavior” in the English court. Dkt. No. 20 at

                                  14   7. Even so, Mr. Akhmedov’s generally uncooperative behavior in the English proceeding does not

                                  15   inform the specific question before this Court, which is whether the accounts belong to Mr.

                                  16   Akhmedov and whether he consents to Google’s production of their contents. The only

                                  17   information in the record before the Court is that the accounts belong to Mr. Akhmedov. Google

                                  18   points to no evidence suggesting that Mr. Akhmedov is not the owner of the accounts, and he has

                                  19   clearly and expressly consented to production of their contents.

                                  20          Accordingly, the Court concludes that Applicant’s subpoena for production of the contents

                                  21   of the accounts falls within the “lawful consent” exception to the SCA’s prohibition against

                                  22   disclosure of an account holder’s electronic communications.

                                  23          B.      Duty to Obtain Discovery from Party
                                  24          Google’s argument that the Court should quash Applicant’s subpoena because she failed to

                                  25   exhaust efforts to obtain discovery directly from Mr. Akhmedov in the English proceeding has no

                                  26
                                  27   1
                                         The English court has accepted both Mr. Akhmedov’s representations and other evidence before
                                  28   it in concluding that he owns the accounts and in ordering him to produce their contents.

                                                                                         5
                                           Case 5:20-mc-80156-JD Document 30 Filed 11/24/20 Page 6 of 8




                                   1   merit. The record reflects that Applicant has attempted to obtain the discovery from Mr.

                                   2   Akhmedov, but he has refused (or has been unable) to provide it. Indeed, as a remedy for Mr.

                                   3   Akhmedov’s inability or refusal to access the accounts himself and produce their contents, the

                                   4   English court required him to provide his consent for Google to disclose the contents to Aon, an

                                   5   independent forensic examiner appointed by the English court.

                                   6          Google does not claim that compliance with the subpoena would pose an undue burden in

                                   7   terms of the effort and expense required to comply. Apart from its desire to avoid exposure under

                                   8   the SCA (described above), Google offers no other explanation for why its status as a non-party to

                                   9   the English proceeding justifies quashing the subpoena. The Court concludes that Applicant has

                                  10   attempted to obtain discovery directly from Mr. Akhmedov in the English proceeding. As those

                                  11   efforts have been unsuccessful, there is no reason Applicant may not subpoena Mr. Akhmedov’s

                                  12   communications held by non-party Google.
Northern District of California
 United States District Court




                                  13          C.      Overbreadth
                                  14          The Court is reluctant to credit an argument Google makes only in a footnote in its opening

                                  15   motion and in its reply. However, for the sake of completeness, the Court addresses Google’s

                                  16   argument that Applicant’s request for production of the contents of Mr. Akhmedov’s email

                                  17   accounts is improper because it is not limited to documents relevant to the matters at issue in the

                                  18   English proceeding.

                                  19          In the circumstances of this case, Google’s objections are not well-taken. Mr. Akhmedov,

                                  20   the party with a direct interest in the scope of production, does not seek a narrowing limitation,

                                  21   although the English court afforded him an opportunity to do so. Also, the English proceeding

                                  22   includes a mechanism by which Mr. Akhmedov will have an opportunity to review the documents

                                  23   Google produces to Aon before they are shared with Applicant or the English court, thereby

                                  24   ensuring that Mr. Akhmedov has an opportunity to raise any objections he may have before the

                                  25   English court, which is in the best position to evaluate questions of relevance or privilege.

                                  26   Conversely, Google does not say how its own interests are adversely affected by the scope of

                                  27   production described in the subpoena.

                                  28          For these reasons, the Court denies Google’s motion to quash the subpoena on the ground
                                                                                         6
                                              Case 5:20-mc-80156-JD Document 30 Filed 11/24/20 Page 7 of 8




                                   1   that it is overbroad.

                                   2            D.     Scope of Preservation Order
                                   3            Google argues that its obligation to preserve documents, information and evidence should

                                   4   be limited to the two accounts specifically identified in the subpoena that are still active and

                                   5   acceptable. Additionally, Google asks to be relieved of any preservation obligations once it has

                                   6   made a production of responsive documents pursuant to the subpoena. Applicant concurs in

                                   7   Google’s proposed modifications to the Court’s prior preservation order.

                                   8            The Court finds good cause to modify its order regarding Google’s preservation

                                   9   obligations and will adopt the parties’ proposed modification as set forth below.

                                  10   III.     CONCLUSION
                                  11            For the reasons set forth above, the Court denies Google’s motion to quash Applicant’s

                                  12   subpoena and grants Google’s motion to modify the subpoena and the Court’s prior order as
Northern District of California
 United States District Court




                                  13   follows:

                                  14            Google shall produce all emails, documents or information regarding the email accounts

                                  15   khyshen@gmail.com and temur.akhmedov1993@gmail.com which would ordinarily be

                                  16   recoverable to a subscriber or account holder through the account recovery process with Google or

                                  17   based on the consent of the subscriber or account holder. Google shall produce responsive

                                  18   documents directly to the independent IT forensic expert appointed by the English Court, Aon,

                                  19   whose contact information for such production shall be provided by Applicant. Google shall

                                  20   preserve the khyshen@gmail.com and temur.akhmedov1993@gmail.com accounts for 90 days

                                  21   from the date of this order. This preservation obligation shall elapse unless an application for a

                                  22   renewal for an additional 90 days is filed.

                                  23            In view of the November 30, 2020 trial date set in the English proceeding, and in view of

                                  24   Google’s representation that the production of this material does not require undue effort or

                                  25   expense, the Court expects Google to produce the requested information concerning the

                                  26   khyshen@gmail.com and temur.akhmedov1993@gmail.com accounts directly to Aon without

                                  27

                                  28
                                                                                          7
                                           Case 5:20-mc-80156-JD Document 30 Filed 11/24/20 Page 8 of 8




                                   1   delay.

                                   2            IT IS SO ORDERED.

                                   3   Dated: November 24, 2020

                                   4

                                   5
                                                                                      VIRGINIA K. DEMARCHI
                                   6                                                  United States Magistrate Judge
                                   7

                                   8

                                   9

                                  10

                                  11

                                  12
Northern District of California
 United States District Court




                                  13

                                  14

                                  15

                                  16

                                  17

                                  18
                                  19

                                  20

                                  21

                                  22

                                  23

                                  24

                                  25

                                  26
                                  27

                                  28
                                                                             8
